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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §
                                               §           NO. 3-08-CR-152-N(08)
MONTEZ ANTONIO ASHBY                           §
                                               §
              Defendant.                       §

                                           ORDER

       The United States Magistrate Judge made findings, conclusions and a recommendation in

this case. Plaintiff filed objections, and the District Court has made a de novo review of those

portions of the proposed findings and recommendation to which objection was made. The

objections are overruled, and the Court ACCEPTS the Findings, Conclusions and Recommendation

of the United States Magistrate Judge.

       Defendant's motion for time credit [Doc. #410] is denied.



       SO ORDERED this 27th day of April, 2012.




                                            DAVID C. GODBEY
                                            UNITED STATES DISTRICT JUDGE
